 Case: 5:13-cr-00097-KKC       Doc #: 652     Filed: 06/23/16   Page: 1 of 4 - Page ID#:
                                            2674



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION
                                AT LEXINGTON

UNITED STATES OF AMERICA,                       CRIMINAL ACTION NO. 5:13-97-KKC
     Plaintiff,

                                                         MEMORANDUM
V.
                                                       OPINION AND ORDER

MARIO APARICIO-RAMIREZ,
     Defendant.



                                        *** *** ***

       This matter is before the Court on Defendant Mario Aparicio-Ramirez’s pro se

motion for reconsideration of his sentence. (DE 650.) Defendant asserts various grounds for

a modification or reduction, all of which are meritless. Therefore, the Court will deny

Defendant’s motion.

       The Defendant pleaded guilty to one count of conspiring to distribute Oxycodone.

(DE 182). On January 9, 2015, this Court sentenced Defendant to a term of 66 months

imprisonment. (DE 342). Defendant’s admitted offense involves the distribution of more

than 10,000, but less than 15,000 oxycodone 30 mg pills. These quantities have a marijuana

equivalency of at least 2,010, but less than 3,015 kilograms, the upper end of this range

qualified Defendant for a base offense level of 32 under U.S.S.G. § 2D1.1(c)(4). However,

this Court applied the rule of lenity and calculated Defendant’s sentence using a base

offense level of 30—corresponding to marijuana equivalency of not less than 1,000

kilograms, but less than 3,000 kilograms. U.S.S.G. § 2D1.1(c)(4), (DE 587 at 12). The Court

also approved the Government’s three level reduction recommendation for acceptance of

responsibility pursuant to U.S.S.G. § 3E1.1, based upon Defendant’s entering a plea of
 Case: 5:13-cr-00097-KKC        Doc #: 652     Filed: 06/23/16    Page: 2 of 4 - Page ID#:
                                             2675



guilty. Finally, from an offense level of 27, Defendant’s criminal history category of III and

the corresponding guideline range of 87–108 months this Court granted an additional 21

month downward variance to 66 months based on Defendant’s role in the offense, criminal

history, and to avoid unwarranted sentencing disparities among defendants. 18 U.S.C. §

3553(a).

       Defendant asserts that because he is an alien he is (1) denied the opportunity for a

sentence reduction pursuant to a fast-track program, (2) categorically deprived of the

opportunity to serve a portion of his sentence in a halfway house, (3) and denied a possible

one year sentence reduction resulting from participation in a drug rehabilitation program.

(DE 650 at 3–4.) Defendant suggests that these facts create a disparity between his

sentence and that of similarly situated individuals that is inconsistent with 18 U.S.C. §

3553(a)(6).   18 U.S.C. § 3553(a)(6) (directing courts to consider “the need to avoid

unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct”).

       Defendant also makes reference to the Supreme Court’s recent decision in United

States v. Johnson, however, because Defendant was not sentenced pursuant to the Armed

Career Criminal Act’s residual clause, that decision is irrelevant to Defendant’s motion. See

generally Johnson v. United States, 135 S. Ct. 2551, 2555 (2015). Furthermore, although

Section 3553(a)(6) is “one factor district courts must consider in determining an appropriate

sentence,” it does not provide a basis for a sentence modification. United States v.

Hernandez-Fierros, 453 F.3d 309, 313 (6th Cir. 2006). The grounds for modifying an

imposed sentence are limited by 18 U.S.C. § 3582, which provides that:




                                              2
 Case: 5:13-cr-00097-KKC           Doc #: 652      Filed: 06/23/16       Page: 3 of 4 - Page ID#:
                                                 2676




                The court may not modify a term of imprisonment once it has
                been imposed except that, (1) in any case, (A) the court, upon
                motion of the Director of the Bureau of Prisons, may reduce the
                term of imprisonment . . . (B) the court may modify an imposed
                term of imprisonment to the extent otherwise expressly
                permitted by statute or by Rule 35 of the Federal Rules of
                Criminal Procedure, and (2) in the case of a defendant who has
                been sentenced to a term of imprisonment based on a
                sentencing range that has subsequently been lowered by the
                Sentencing Commission[.]

18 U.S.C. § 3582(c). Here, the Bureau of Prisons (“BOP”) has not moved for a reduction;

Defendant has not moved under a statute that expressly permits modification or Rule 35 of

the Federal Rules of Criminal Procedure; and the Sentencing Commission has not

subsequently lowered the sentencing range for the crimes that Defendant was convicted of.

Even if Section 3553(a) provided for sentence modification, or if this Court were to construe

Defendant’s motion as a petition for habeas relief1 it would be denied because the Court

remains convinced its original sentence was reasonable under the statutory factors.

        Defendant’s references to “fast-track” programs are irrelevant to his Section 3553

(a)(6) claim. Fast-track programs have evolved in certain districts to expedite processing of

illegal reentry cases. Hernandez-Fierros, 453 F.3d at 310–11. Defendant was not sentenced

for illegal reentry; consequently, the availability of such programs for such offenders does

not, and could not, create a disparity between Defendant’s sentence and sentences for

individuals found guilty of similar conduct.

        Similarly, this Court is not persuaded that Defendant’s ineligibility for halfway

house placement leaves his sentence unreasonable. 18 U.S.C. § 3624(c) directs the BOP to



1 “A document filed pro se is to be liberally construed . . . and a pro se complaint, however inartfully

pleaded, must be held to less stringent standards than formal pleadings drafted by lawyers.”
Erickson v. Pardus, 551 U.S. 89, 94 (2007) (internal citations omitted).
                                                   3
 Case: 5:13-cr-00097-KKC        Doc #: 652     Filed: 06/23/16      Page: 4 of 4 - Page ID#:
                                             2677



make halfway house placements only “to the extent practicable.” Congress has explicitly

eliminated any role for sentencing Courts in placement decisions. 18 U.S.C. § 3621(b) (“Any

order, recommendation, or request by a sentencing court that a convicted person serve a

term of imprisonment in a community corrections facility shall have no binding effect on

the authority of the Bureau under this section.”). This clear demarcation clarifies that any

disparity in placement does not equate to a sentencing disparity.

       Finally, Defendant’s inability to participate in a drug treatment program that is not

offered at his facility does not create a sentencing disparity. At Defendant’s sentencing this

Court noted that the Bureau of Prisons (“BOP”) chooses Defendant’s place of incarceration

and Defendant’s attorney recognized the possibility that certain drug treatment programs

might not be available at all BOP facilities. (DE 650-1.) Defendant has offered no evidence

that his sentence is inconsistent with other similarly situated individuals, nor has he

shown that his sentence is otherwise inconsistent with any of the 18 U.S.C. § 3553(a)

factors.

       Accordingly,   IT   IS   ORDERED           that   Defendant’s   motion   for   sentence

reconsideration (DE 650) is DENIED.

       Dated June 23, 2016.




                                              4
